1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 1 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 2 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 3 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 4 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 5 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 6 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 7 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 8 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 9 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 10 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 11 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 12 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 13 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 14 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 15 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 16 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 17 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 18 of 19
1:18-cv-00492-AMQ-SVH   Date Filed 04/19/18   Entry Number 17-3   Page 19 of 19
